Case 19-24191-CMG             Doc 41 Filed 02/22/20 Entered 02/23/20 01:36:59                      Desc Imaged
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)


EUGENE D. ROTH, ESQ.-4239                                                      Order Filed on February 20, 2020
                                                                               by Clerk
252O HIGHWAY 35, SUITE 307                                                     U.S. Bankruptcy Court
MANASQUAN, NEW JERSEY 08736                                                    District of New Jersey
(732) 292-9288
Attorney for Debtors



In Re:
                                                              Case No.:             19-24191
                                                                              ____________________

Jagmohan and Meena Vasudeva,                                  Chapter:                 13
                                                                              ____________________

Debtors                                                       Judge:          Christine M. Gravelle
                                                                              ____________________



                                        LOSS MITIGATION ORDER


         The relief set forth on the following pages, numbered 2 and 3, is hereby ORDERED.




  DATED: February 20, 2020
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  ✔
                                                                           January 28, 2020 .
       A Notice of Request for Loss Mitigation was filed by the debtor on __________________

                                                                                 Loan Care, LLC.
          A Notice of Request for Loss Mitigation was filed by the creditor, ________________________ on
      __________________.

     The court raised the issue of Loss Mitigation, and the parties having had notice and an opportunity to
      object, and the Court having reviewed any objections thereto.

  The Request concerns the following:

            6 Mimi Drive, Monroe Township, NJ 08831
  Property: ________________________________________________________________

            Loan Care, LLC.
  Creditor: ________________________________________________________________


   It is hereby ORDERED that the Notice of Request for Loss Mitigation is denied.


  ✔
     It is hereby ORDERED that the Notice of Request for Loss Mitigation is granted, and:

      x       The debtor and creditor listed above are directed to participate in Loss Mitigation and are bound
              by the court’s Loss Mitigation Program and Procedures (LMP).

      x       The Loss Mitigation process shall terminate on ________________ (90 days from the date of the
              entry of this order, unless extended as set forth in Section IX.B. of the LMP.

      x       The debtor must make adequate protection payments to the creditor during the Loss Mitigation
              Period in the amount set forth in the Notice and Request for Loss Mitigation. See Sections
              V.A.1.a and VII.B. of the LMP.

      x       If a relief from stay motion pursuant to section 362(d) is pending upon entry of this Order or if
              such a motion is filed during the loss mitigation period, the court may condition the stay upon
              compliance by the debtor with the fulfillment of the debtor’s obligations under the Loss
              Mitigation Order. If the debtor fails to comply with the loss mitigation process and this Order, the
              creditor may apply to terminate the Order as specified in Section IX.C of the LMP and to obtain
              relief from the stay.

      x       Within 14 days of termination of the loss mitigation period, the debtor must file with the court and
              serve all interested parties, the Local Form, Loss Mitigation Final Report as set forth in Section
              VII.C. of the LMP.

      x       Extension of the LMP may be requested as specified in Section IX.B of the LMP.
                                                            2
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   ✔ It is ORDERED that parties shall utilize the Loss Mitigation Portal during the Loss Mitigation Period,
   
       and it is further ORDERED that:

      x     Within 14 days of the date of this order, the creditor shall ensure that it is registered on the loss
            mitigation portal and that all of its initial loss mitigation document requirements are available on
            the portal.

      x     Within 35 days of the date of this order, the debtor shall upload and submit through the loss
            mitigation portal a completed Creditor’s Initial Package.

      x     Within 10 business days of the debtor’s submission of the Creditor’s Initial Package, the creditor
            shall acknowledge receipt of same and designate the single point of contact for debtor’s review.


    It is ORDERED that the debtor is excused from use of the Loss Mitigation Portal during the Loss
      Mitigation Period, and it is further ORDERED that:

      x     Within 14 days of the date of this order, the creditor shall designate a single point of contact,
            including the name and contact information of the contact and shall specify to the debtor the
            forms and documentation the creditor requires to initiate a review of the debtor’s loss mitigation
            options.

      x     Within 21 days after receipt of the creditor’s specifications regarding forms and documentation,
            the debtor shall provide the requested information.

      x     Within 10 business days of the debtor’s submission, the creditor shall acknowledge receipt of the
            documentation.




                                                                                                        Revised 9/19/13

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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-24191-CMG
Jagmohan Vasudeva                                                                                          Chapter 13
Meena Vasudeva
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 1                          Date Rcvd: Feb 20, 2020
                                      Form ID: pdf903                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 22, 2020.
db/jdb         +Jagmohan Vasudeva,   Meena Vasudeva,   6 Mimi Drive,   Monroe, NJ 08831-3528

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 22, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 20, 2020 at the address(es) listed below:
              Albert Russo     docs@russotrustee.com
              Denise E. Carlon    on behalf of Creditor    MEB Loan Trust dcarlon@kmllawgroup.com,
               bkgroup@kmllawgroup.com
              Eugene D. Roth    on behalf of Joint Debtor Meena Vasudeva erothesq@gmail.com
              Eugene D. Roth    on behalf of Debtor Jagmohan Vasudeva erothesq@gmail.com
              Lauren Moyer     on behalf of Creditor    LoanCare, LLC lmoyer@mwc-law.com,
               nj-ecfmail@ecf.courtdrive.com
              Melissa S DiCerbo    on behalf of Creditor    LoanCare, LLC nj-ecfmail@mwc-law.com,
               nj-ecfmail@ecf.courtdrive.com
              Rebecca Ann Solarz    on behalf of Creditor    MEB Loan Trust rsolarz@kmllawgroup.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                              TOTAL: 8
